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                Exhibit K
Compare.      Save. GetDocument
  Case 8:21-cv-01455-PWG the Best   Results
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Introductory Packages Comparison (New Patients)
                                             BASIC Weight Loss         HORMONE Program                  COMPLETE Results
                                             For Gradual & Sustained   For Optimal Health               For Quick Long Lasting
                                             Weight Loss               & Wellness                       Success



Intake Appointment

     Blood & Chemistry Metabolic Labs

      Metabolic Rate Oxygen (O2) Test

    Body Composition/Weight Analysis

                    Nutritional Analysis

       Physical Exam - Systems Review

            EKG/ECC Cardio Evaluation

               Medical History Analysis

               Drug Interaction Review

     Hormone Blood & Chemistry Labs

 Symptoms Based Anti-Aging Analysis

      Gender Speciﬁc BHRT Screening

 Healthy Weight DNA Insight Analysis*       optional                   optional                        optional




30 Day Starter Plan                            Save 1st Month $175
                                            Normal Monthly Fee $325
                                                                          Save 1st Month $250
                                                                       Normal Monthly Fee $450
                                                                                                         Save 1st Month $300
                                                                                                      Normal Monthly Fee $550



            Doctor Visits (Full Sessions)            1 per month                2 per month                     4 per month
                    Energy (B12) Shots               2 per month                4 per month
         Energy (B12) Fat Burner Shots                                                                        8 per month
                  Plateau Buster Shots                                                                        2 per month
    Appetite Suppressants (Category 1)        up to 2 per month                                         up to 4 per month

         Cravings & Sugar Control Aids        up to 1 per month                                         up to 2 per month

    Supplements (Enzymes) & Vitamins          up to 1 per month                                         up to 2 per month

    BioIdentical Hormone Prescriptions                                   up to 3 per month              up to 3 per month

     Nutritional & Behavior Counseling                                                                        1 per month
                  Metabolic Meal Plans               2 per month                                              2 per month
             Labs ReTesting (quarterly)           $99                        free                             free
               @Home Self-Injector Kit            $50                         $50                             free




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                                                                                                             Weight Loss Plans

                 Monthly Plans.              MAINTENANCE Phase          BASIC Weight Loss         AGGRESSIVE Weight Loss    COMPLETE Results
                                             For Gradual & Sustained    For Gradual & Sustained   For Optimal Health        For Quick Long Lasting
                   What’s Included           Weight Loss                Weight Loss               & Wellness                Success

                                                    $
                                                      195    00
                                                      per month
                                                                               $
                                                                                   325    00
                                                                                   per month
                                                                                                         $
                                                                                                             450    00
                                                                                                             per month
                                                                                                                                   $
                                                                                                                                       550    00
                                                                                                                                       per month



             Doctor Visits (Full Sessions)        1 every 2 months         1 per month                 2 per month              4 per month
                      Energy (B12) Shots          1 per month              2 per month
           Energy (B12) Fat Burner Shots                                                               4 per month              8 per month
                   Plateau Buster Shots                                                                1 per month              2 per month
  Appetite Suppressants (Category 1)         up to 1 per month         up to 2 per month          up to 3 per month        up to 4 per month

           Cravings & Sugar Control Aids     up to 1 per month         up to 1 per month          up to 1 per month        up to 2 per month

  Supplements (Enzymes) & Vitamins                                     up to 1 per month          up to 1 per month        up to 2 per month

  BioIdentical Hormone Prescriptions                                                                                       up to 3 per month

    Nutritional & Behavior Counseling                                                                   1 per month              1 per month
                   Metabolic Meal Plans                                up to 1 per month          up to 1 per month        up to 2 per month

               Labs ReTesting (quarterly)         $99                      $99                         $45                      free
                 @Home Self-Injector Kit          $69                      $50                         $35                      free


           Upgrades & Add Ons
                 Additional Doctor Visits         $ 85                      $ 65                       $ 45                 $ 35

                       Prescription Fees          $ 35                      $ 25                       $ 14                 free
                Extra Energy (B12) Shots          $ 25                      $ 15                       free                 free
           Extra Energy (B12) Fat Burner          $ 65                      $ 45                       $ 15                 free
                        Lipotropic Shots

              Extra Plateau Buster Shots          $ 85                      $ 65                       $ 45                 $ 25

            Extra Appetite Suppressants           $ 65                      $ 45                       $ 35                 $ 25
                            (Category 1)

       Extra Cravings & Sugar Control             $ 35                      $ 25                       $ 15                 $ 10
                     Aids (Category 2)

      Extra Supplements (Enzymes) &               $ 25                      $ 15                       free                 free
                Vitamins (Category 3)

                  Nutritional & Behavior          $ 55                      $ 45                       free                 free
                              Counseling

      Additional Metabolic Meal Plans             $ 35                      $ 25                       free                 free
              Extra Medication Shipping           $ 25                      $ 25                       $ 25                 $ 25




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